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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                   NORTHERN DIVISION

    MCRAE LAW FIRM, PLLC                                                                             PLAINTIFF

    V.                                                             CAUSE NO. 3:19-CV-124-CWR-LRA

    MATTHEW WADE GILMER, ET AL.                                                                  DEFENDANTS


                                                      ORDER

           When it first remanded this case, this Court did not sanction Barry Gilmer for what could

have been an innocent mistake.1 Gilmer got a pass on the second remand, too. The third time,

though, Judge Bramlette was not pleased. He remanded the matter, awarded the plaintiff more

than $5,000 in attorney’s fees, and cautioned Gilmer that “stiffer sanctions” would result if

Gilmer removed this dispute a fourth time. McRae Law Firm, PLLC v. Gilmer, No. 3:17-CV-

704-DCB-LRA, 2018 WL 3595219, at *3 (S.D. Miss. July 26, 2018). Judge Bramlette even

considered imposing a pre-filing injunction to prevent Gilmer from removing the case a fourth

time.

           Gilmer didn’t remove the case again. It appears, he simply got his son to do it for him.

           Matthew Wade Gilmer perfected the fourth removal of this case in February 2019,

drawing this cause number. Barry Gilmer consented to the removal. There was no factual or legal

justification for the removal, so it should have come as no surprise that in remanding this case

yet again, this Court found that “attorney’s fees and costs are more than appropriate.” Docket No.

20.




1
 That’s a generous read of Gilmer’s actions, since he then took an appeal (despite the lack of appellate jurisdiction)
and, separately, sought a writ of mandamus.
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        The question today is how much those fees and costs will total. Gilmer has been here

before. See McRae Law Firm, 2018 WL 3595219, at *3. The legal standard for fee motions is

familiar and need not be repeated. See Sturkin v. Patrick, No. 3:16-CV-434-CWR-FKB, 2019

WL 2078790, at *1 (S.D. Miss. May 10, 2019). The Supreme Court has explained that “trial

courts need not, and indeed should not, become green-eyeshade accountants. The essential goal

in shifting fees (to either party) is to do rough justice, not to achieve auditing perfection.” Id. at

*2 (quotation marks and citation omitted).

        Notwithstanding this clearly established law, the briefs and evidence on this single issue

exceed 1,200 pages. The Court has attempted to boil down the lengthy record into a few

findings:

        Despite their protestations of independence,2 the available evidence suggests that

defendants Barry Gilmer and Matthew Wade Gilmer work together, live together, represent each

other on occasion3, regularly share and transfer financial assets between one another, have

identical interests in this long-running dispute, and, most importantly, have acted in concert to

frustrate the plaintiff and the judicial system in its effort to see this case to its conclusion. See,

e.g., Docket No. 23-13 at 33, 37-38, 82, 89-93, 110, 121-27, 147-49, 228, 240, and 253. Their

fourth removal of this case was objectively unreasonable. Their actions have unnecessarily

delayed the resolution of their dispute with the plaintiff.

        The evidence attached to the present motion for fees shows that reasonable hours were

expended by the plaintiff’s attorneys on securing the fourth remand. Their brief and arguments


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  In his brief, for example, Matthew Gilmer claims that the 2019 amended complaint was the first time he had been
involved in this dispute. That’s misleading. His single-member PLLC was among the defendants sued in the very
first removal of this case, way back in 2016. And the state-court testimony shows that Matthew Gilmer is the
authorized signatory on all of Barry Gilmer’s law firms’ bank accounts, and has been for the last five and a half
years. See Docket No. 23-13 at 91. So the notion that Matthew Gilmer should get the benefit of the doubt for being
new to this dispute—a dispute which at its core concerns him writing law firm checks—is preposterous.
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  See Docket No. 30-3 at 7 and 76; Docket No. 30-13 at 42.

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were compelling enough that the Gilmers conceded to remand on the merits, reserving their

objections only to the prospect of sanctions.

       As for the reasonableness of the hourly rates, the Court finds Mr. Corlew’s evidence of

attorney hourly rates to be consistent with evidence shown in other cases in this judicial district.

See, e.g., Brown v. Mississippi Dep’t of Health, No. 3:11-CV-146-CWR-FKB, 2013 WL

12128785, at *3-4 (S.D. Miss. Mar. 5, 2013) (collecting cases); McWilliams v. Advanced

Recovery Sys., Inc., No. 3:15-CV-70-CWR-LRA, 2017 WL 2625118, at *3 (S.D. Miss. June 16,

2017). The plaintiffs’ attorneys are certainly experienced enough to draw these rates, and there is

no reason to deviate from these regional norms in this matter.

       For these reasons, the Court will award the movants the full attorney’s fees they seek. No

adjustments will be made after consideration of the Johnson factors, for essentially the same

reasons Judge Bramlette provided in the last fee award. See McRae Law Firm, 2018 WL

3595219, at *3.

       In its Order of Remand, this Court asked whether the defendants should be required to

pay a per-day sanction for the delay they have caused. There is little doubt that the defendants

have acted in bad faith, that lesser sanctions were unsuccessful and had no deterrent effect on

their behavior, and that the defendants have more than adequate financial resources to pay per-

day sanctions. Under the circumstances, therefore, a per-day sanction is warranted.

       That said, the undersigned believes that the Chancellor is in the best position to calculate

the precise number of days that the defendants’ actions have delayed the resolution of the case

before her. This Court will therefore decline to issue a daily sanction and, instead, simply express

its belief that any decision she might reach to sanction the defendants would not be an abuse of

discretion.



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          The motion for fees and costs is granted in the amount of $13,931.10. It shall be paid

before December 1, 2019. The motion to strike is denied. The supplemental motion for fees is

denied.

          In addition, Matthew Wade Gilmer and Barry Gilmer, and all of their law firms, entities,

agents, attorneys, and representatives, are hereby enjoined from removing their state-court

dispute with the McRae Law Firm into federal court, unless they have first received written

permission from Judge Bramlette or the undersigned.

          Lastly, it appears that monetary sanctions and the threat of “stiffer sanctions, monetary

and otherwise” have not caused these defendants to refrain from these abusive tactics. A next

step may be to revoke these lawyers’ authority to practice in the district. The Court will consider

that tool and all other remedies should the defendants remove this case again.

          SO ORDERED, this the 22nd day of October, 2019.

                                                s/ Carlton W. Reeves
                                                UNITED STATES DISTRICT JUDGE




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